


 
   *664
   
  PER CURIAM.
 

  Appellant seeks review of his conviction and sentence for grand theft after allegedly stealing a television set. On appeal he argues that the trial court erred in denying his motion for judgment of acquittal on the basis that the State offered insufficient proof of the value of the television. The State concedes that insufficient proof was offered below. As such, the motion for judgment of acquittal should have been granted and Appellant’s conviction should be reduced from grand theft to petit theft. The case is remanded for resentencing. We find no merit in Appellant’s other claim.
 

  REVERSED and REMANDED.
 

  HAWKES, C.J., WETHERELL and ROWE, JJ., concur.
 
